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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

    BROADSTREET, INC.,                                 §
    BROADSTREET GLOBAL FUND,                           §
    L.L.C., BROAD STREET GLOBAL                        §
    MANAGEMENT, L.L.C., DAVID                          §
    FEINGOLD, JOSEPH BALDASSARRA,                      §
    and STEVEN BALDASSARRA,                            §    Civil Action No. 4:24-cv-00803-O
                                                       §
            Plaintiffs,                                §
            §                                          §
    vs.                                                §
                                                       §
    SECURITIES AND EXCHANGE                            §
    COMMISSION,                                        §
                                                       §
            Defendant.                                 §

                                                  ORDER

           Before the Court are Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

Injunction (ECF No. 4-4), filed August 22, 2024; the Securities and Exchange Commission’s

Opposition to Plaintiffs’ Motion (ECF No. 18-2), filed September 20, 2024; and Plaintiffs’ Reply

(ECF No. 28-3), filed October 18, 2024. For the reasons stated herein, Plaintiffs’ Motion is

DENIED.

      I.      FACTUAL BACKGROUND1

           Broadstreet is an “equity provider for the largest land infrastructure developer in the

Carolinas.”2 The private equity side of the business is known as Broadstreet Global Fund

(“BSGF”), and is run by brothers, Steven and Joseph Baldassarra. On the other side of the business,

receiving BSGF investor funds, is Broadstreet, Inc. (“BSI”), which creates the infrastructure for

housing development projects. David Feingold is BSI’s CEO.


1
    Unless otherwise noted, all facts are taken from Plaintiffs’ Complaint. Pls.’ Compl. 1, ECF No. 1.
2
    BROADSTREET, https://broadstreetprivateequity.com/firm-overview/ (last visited Nov. 15, 2024).

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       Each of these individuals and entities has been under investigation by the Securities and

Exchange Commission (“SEC”) for alleged violations of securities laws. According to Plaintiffs,

the SEC seeks to regulate the Broadstreet entities together, as if it can. But BSGF, BSI, and David

Feingold are outside the ambit of entities or individuals the SEC may regulate.

       First, BSGF is a private fund that does not sell securities to retail investors. The SEC has

dictated the amount and manner in which BSGF may pay its managers and related service

providers, how investments are collected and distributions are deployed, and the specific way

investors may review and approve disclosures. But Plaintiffs assert that the Fifth Circuit blocked

the SEC’s similar attempt to regulate private funds in National Association of Private Fund

Managers v. Securities & Exchange Commission, 103 F4th 1097, 1111 (5th Cir. 2024). Second,

BSI is a real estate company and not a securities business. Because the SEC’s authority is limited

to regulating securities, BSI and its CEO, David Feingold, allege they are wrongfully under

investigation.

       Not only is the SEC investigating Plaintiffs under questionable authority, but Plaintiffs

allege that the SEC “has also used abusive tactics to sustain and extend” its “reputation-damaging

investigation.” The SEC has conducted a formal investigation for nearly two years. The SEC has

directed Plaintiffs not to change their corporate structure or hold major corporate events while

under investigation. It has refused Plaintiffs’ voluntary production of records and instead served

Plaintiffs’ banks and business associates with subpoenas. As a result, several banks and

professionals terminated their relationship with Broadstreet entities. And the SEC has required

David Feingold to testify over five days, among other unreasonable conduct.

       Plaintiffs claim that the SEC continues to target Plaintiffs’ businesses because of their size

and the amount of assets Plaintiffs control. And they further claim that an enforcement action will



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trigger the default provisions in their business contracts, halting construction of “nearly 30,000

homesites and the loss of at least 2500 jobs.”3 Plaintiffs filed a Motion for a Temporary Restraining

Order (“TRO”) and Preliminary Injunction to restrain the SEC from (1) instituting an enforcement

action against Feingold and BSI, (2) regulating the internal governance structure of the Broadstreet

entities, and (3) imposing disclosure and reporting requirements not authorized by recent Fifth

Circuit case law, and (4) violating Plaintiffs’ constitutional rights.4 The Motion is now ripe for the

Court’s review.

      II.       LEGAL STANDARD

             The Court should issue a preliminary injunction only if the movants establish (1) a

“substantial likelihood of success on the merits”; (2) a “substantial threat of irreparable harm”;

(3) that the balance of hardships weighs in their favor; and (4) that the issuance of the preliminary

injunction will not disserve the public interest. Daniels Health Scis., L.L.C. v. Vascular Health

Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013). The first two factors are most critical, and the

latter two merge when the government is an opposing party. Valentine v. Collier, 956 F.3d 797,

801, 804 (5th Cir. 2020).

             A temporary restraining order is “‘simply a highly accelerated and temporary form of

preliminary injunctive relief,’ which requires that the party seeking such relief establish the same

four elements for obtaining a preliminary injunction.” Greer’s Ranch Café v. Guzman, 540 F.

Supp. 3d 638, 644–45 (N.D. Tex. 2021) (quoting Hassani v. Napolitano, No. 3:09-cv-1201-D,

2009 WL 2044596, at *1 (N.D. Tex. July 15, 2009)).

      III.      ANALYSIS




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    Pls.’ Mot. for TRO and Prelim. Inj. ¶ 5, ECF No. 4-4.
4
    See id. at ¶¶ 1–9; see also Pls.’ Reply 4, n.2, ECF No. 28-3 (clarifying the relief that Plaintiffs seek).

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       Plaintiffs, having been under investigation by the SEC for the past two years, now seek

injunctive relief on their common law ultra vires claim to prevent the SEC from continuing its

investigation or bringing an enforcement action against Plaintiffs. The Court held a hearing,5 in

which Plaintiffs argued that the SEC lacks express statutory authority to regulate infrastructure

groups (i.e., BSI and BSI’s CEO, David Feingold) and private funds (i.e., BSGF). Because

Plaintiffs fail to demonstrate a likelihood of success on the merits of this claim, the Court DENIES

their Motion.

    A. Plaintiffs fail to show a likelihood of success on the merits.

       Defendant argues that Plaintiffs are not likely to succeed on the merits because sovereign

immunity bars Plaintiffs’ ultra vires claims.6 The Administrative Procedure Act (“APA”) and the

common law are distinct sources for ultra vires claims, and each entails a unique avenue for

overcoming sovereign immunity. See Apter v. Dep’t of Health & Hum. Servs., 80 F.4th 579, 587

(5th Cir. 2023). Despite Plaintiffs bringing ultra vires claims under both the APA and the common

law in their Complaint, Plaintiffs abandoned their APA ultra vires claim for purposes of injunctive

relief during the hearing. Therefore, the Court need not address the APA’s sovereign immunity

waiver. It only addresses the common law version of that doctrine, which Plaintiffs now

exclusively rely on for temporary relief.

       The Court holds that Plaintiffs fail to show a likelihood of success on the merits because it

is not clear under Fifth Circuit precedent that this claim remains following the amendment of the

APA in 1976. Id. at 593 (quoting Geyen v. Marsh, 775 F.2d 1303, 1307 (5th Cir. 1985)). And even



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 Min. Entry, Nov. 14, 2024, ECF No. 36.
6
 Def.’s Resp. 9–14, ECF No. 18-2. Defendant also argues that the SEC’s decision to investigate is
“committed to agency discretion by law” and that Plaintiffs’ claim is not ripe, but because Plaintiffs
cannot overcome sovereign immunity, the Court need not address Defendant’s remaining arguments. Id.
at 12–14, 16–20.

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if an implied ultra vires claim were cognizable under the common law, Plaintiffs have not shown

that they can prevail on the merits of that claim.

       1. The Fifth Circuit and the common law ultra vires doctrine.

       Sovereign immunity does not apply in the context of common law ultra vires claims

because of the legal fiction recognized in Ex parte Young, 209 U.S. 123, 159 (1908). That is,

“where the officer’s powers are limited by statute, his actions beyond those limitations are

considered individual and not sovereign actions.” Danos v. Jones, 652 F.3d 577, 583 (5th Cir.

2011) (quoting Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949)). Thus, under

the common law, the protection of sovereign immunity does not extend to actions “‘without any

authority whatever,’ or without any ‘colorable basis for the exercise of authority.’” Id. (quoting

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 101 n. 11 (1984)).

       Notwithstanding this exception to sovereign immunity, there is ongoing debate as to

whether the common law ultra vires doctrine survived the passage of the APA.7 The APA provides

an independent cause of action for an ultra vires suit, and the common law’s fiction surrounding

sovereign immunity does not apply to APA ultra vires claims.8 A plaintiff bringing an ultra vires

action under the APA must meet the terms of the APA’s sovereign immunity waiver.9

       Given the APA’s provision for judicial review of ultra vires acts, the Fifth Circuit has

questioned the continued viability of the common law version of the ultra vires doctrine. See Apter,

80 F.4th at 593 (“[U]nder our precedent, Congress apparently ‘d[id] away with the ultra vires

doctrine and other fictions surrounding sovereign immunity’ when it amended the APA in 1976.”

(second alteration in original) (quoting Geyen, 775 F.2d at 1307)). Even in circuits that still


7
  See generally Alexandra Nickerson, Ultra-APA Ultra Vires Review: Implied Equitable Actions for
Statutory Violations by Federal Officials, 121 COLUM. L. REV. 2521 (2021).
8
  5 U.S.C. § 706(2)(c) (APA’s ultra vires action); 5 U.S.C. § 702 (APA’s sovereign immunity waiver).
9
  5 U.S.C. § 702.

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recognize common law ultra vires claims, they do so only when review under the APA is

unavailable. See id. (collecting cases in the D.C., Eleventh, Ninth, Fourth, and Second Circuits).

       Here, Plaintiffs fail to show why this Court should recognize their common law ultra vires

claim and the associated “fictions surrounding sovereign immunity” given this Circuit’s questions

surrounding that doctrine. Geyen, 775 F.2d at 1307. Even if the Court were to follow the approach

of other circuits in recognizing common law ultra vires claims only when APA review is

unavailable, Plaintiffs have made no argument that they are unable to bring a challenge under the

APA because, for example, another statute forecloses it. C.f. Fed. Express Corp. v. United States

Dep’t of Com., 39 F.4th 756, 763 (D.C. Cir. 2022) (“FedEx is unable to bring a traditional [APA]

challenge to Commerce’s interpretation of its regulation because the 2018 Export Controls Act

provides that the ‘functions’ the Department of Commerce exercises under that Act ‘shall not be

subject to’ the judicial review sections of the APA.”).

       Therefore, because Plaintiffs rely exclusively on the common law to bring their ultra vires

claim and because they make no showing that the claim is cognizable under Fifth Circuit precedent,

it is unlikely that Plaintiffs would succeed on the merits.

       2. Even if Plaintiffs’ common law ultra vires claim is cognizable, Plaintiffs cannot
          satisfy its demanding standard.

       Plaintiffs contest the SEC’s statutory authority to investigate them. But even if the SEC

was wrong in its interpretation and application of the law, this would not support a conclusion that

the SEC has acted without any statutory authority. To prevail on a common law ultra vires claim,

“a plaintiff must ‘do more than simply allege that the actions of the officer are illegal or

unauthorized.’” Danos, 652 F.3d at 583 (quoting Ala. Rural Fire Ins. v. Naylor, 530 F.2d 1221,

1226 (5th Cir. 1976)). Rather, he “must allege facts sufficient to establish that the officer was




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acting ‘without any authority whatever,’ or without any ‘colorable basis for the exercise of

authority.’” Id. (quoting Pennhurst, 465 U.S. at 101 n.11).

         Here, the SEC’s authority to investigate is found in Section 21(a) the Exchange Act.

15 U.S.C. § 78u(a)(1). Under that law, the SEC “may, in its discretion, make such investigations

as it deems necessary to determine whether any person has violated, is violating, or is about to

violate any provision of this chapter.” Id. Because the Exchange Act commits decisions to

investigate to the SEC’s discretion—even decisions about whether someone has violated securities

laws—there is no standard by which the SEC’s decision to investigate might be reviewed. Put

differently, it is not a standard by which a court could definitively say that the SEC, by

investigating someone, has exceeded its statutory authority. Thus, Plaintiffs’ ultra vires claim

could not succeed on the merits.

   IV.      CONCLUSION

         For the foregoing reasons, Plaintiffs have not demonstrated a likelihood of success on the

merits. Because Plaintiffs fail to show a likelihood of success on the merits, the Court need not

consider the other requirements for a temporary restraining order or preliminary injunction.

Accordingly, Plaintiffs’ Motion for a Preliminary Injunction is DENIED.

         SO ORDERED this 17th day of November, 2024.



                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE




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